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AO 91 (Rev. LI/11) Criminal Complaint

UNITED STATES DISTRICT COURT .
for the January 06, 2023
CLERK, U.S, DISTRICT COURT
Western District of Texas WESTERN DISTRICT OF TEXAS
sy. Cecie Rodriguez
United States of America Beenie
Vv.
LOPEZ, Adrian Case Ba:
)
EP:23-MJ- 4/ (0 ATB
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 5, 2023, in the county of El Paso in the
Western District of Texas _ the defendant(s) violated:
Code Section Offense Description
Title 18 U.S.C. § 554(a) Whoever fraudulently or knowingly exports or sends from the United States,

or attempts to expart or send from the United States, any merchandise,
article, or object contrary to any law or regulation of the United States, or
receives, conceals, buys, sells, or in any manner faci litates the transportation,
concealment, or sale of such merchandise, article or object, prior to
exportation, knowing the same to be intended for exportation contrary to any
law or regulation of the United States, to-wit: one (1) AR- 15 rifle, one (1)S &
W .45 pistol, 13 rounds of .223 cal and 5 rounds of .40 cal and 2 magazines.

This criminal complaint is based on these facts:

See Attached Affidavit

@ Continued on the attached sheet.

Complainant's signature

Armando Coello, HSI Special Agent

Printed name and title

Sworn to before me and signed in my presence.

Date: _ 01/06/2023

udge ‘ys signature

City and state: El Paso, Texas Anne T. Berton, U.S. Magistrate Judge

Printed name and title
Complaint sworn to telephonically on
January 06, 2023 at ep, and signed
electronically. FED.R.CRIM.P. 4.1(b)(2)(A)

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On January 5, 2023, Adrian LOPEZ attempted to exit the United States into Mexico via
the southbound lanes at the Tornillo Texas Port of Entry (POE). LOPEZ was the driver
of a white 2015 Nissan Armada bearing Oklahoma license plates. Passengers in the
vehicle were LOPEZ’ wife and four minor children.

Customs and Border Protection (CBP) Officer Ernesto Lopez was assigned to
southbound inspection duties at the Tornillo POE when LOPEZ was encountered. CBP
Officer Lopez asked LOPEZ about their purpose of traveling into Mexico. LOPEZ stated
they were going to their home in Mexico. CBP Officer Lopez asked LOPEZ if he was
transporting any type of merchandise for himself or anyone else into Mexico to include
munitions, arms, or money of any kind. LOPEZ responded no. CBP Canine
Enforcement Officer (CEO) Luis A. Garcia Dominguez and his assigned Firearms and
Currency Detection Dog (FCDD) screened the vehicle driven by LOPEZ.

CBP CEO Garcia Dominguez informed CBP Officer Lopez that the FCDD had alerted
and responded to the presence of a previously fired weapon emitting from the spare tire
of the vehicle.

CBP Officer Lopez asked LOPEZ for his documents. CBP Officer Lopez noticed
LOPEZ’ hand visibly shaking as he presented his passport card to CBP Officer Lopez.
CBP Officer Lopez escorted LOPEZ into the vehicle secondary area for an intensive
inspection.

The vehicle was scanned through the Z-Portal unit. CBP Supervisor Adolfo Garcia was
assigned as the Z-Portal operator at the Tornillo POE. Anomalies were detected in the
rear quarter panel and spare tire areas of the vehicle.

Further inspection of the vehicle revealed an AR-15 rifle concealed on top of the spare
tire. A Smith and Wesson .45 caliber pistol, an empty magazine inserted in the pistol, an
AR-15 magazine loaded with thirteen (13) rounds and five (5) rounds were found in the
rear quarter panel area.

HSI Special Agent (SA) Armando Coello responded to the Tornillo POE. HSI SA Coello
read LOPEZ his Miranda Statement of Rights in the Spanish language witnessed by CBP
CEO Garcia Dominguez. LOPEZ acknowledged in writing that he understood his rights
and agreed to speak with agents without the presence of an attorney.

At the beginning of the interview, before any questions were asked, LOPEZ stated that he
would only make the following statement before requesting an attorney.

On or about one week prior to his arrest, he met an individual at a hotel in the U.S. He
maintained contact with that individual and exchanged phone numbers. That individual
sold LOPEZ the firearms. LOPEZ intent was to keep these firearms at his ranch in
Mexico and stated they were not intended to be resold. LOPEZ’ wife waited at a store in
El Paso while LOPEZ purchased the firearms. LOPEZ’ wife was not aware of the
firearms purchase.

HSI SA Coello asked LOPEZ if he would like to speak to an attorney before continuing
with the interview. LOPEZ stated he would like an attorney. The interview with LOPEZ
was immediately terminated.
